                     IN THE UNITED STATES DISTRICT COURT FOR
                        THE EASTERN DISTRICT OF WISCONSIN
                                GREEN BAY DIVISION

                                               )
DUSTIN J. DEMITRIOU and RONDA                  )
DEMITRIOU,                                     )
                                               )
              Plaintiffs,                      )
                                               )
v                                              )
                                              )
DONNELLY TRANSPORTATION,                      )             Case Number:
INCORPORATED, JOSUE R.                        )
HIDALGO-CLARKE, FIREBIRD                      )
TRUCKING, INCORPORATED,                        )
ACE PROPERTY AND CASUALTY                      )
INSURANCE COMPANY, ANd STATE                   )
NATIONAL INSURANCE COMPANY,                    )
                                               )
              Defendants.                      )
                                               )

                                     CNIL COMPLAINT


       NOW COME the Plaintiffs, Dustin J. Demitriou and Ronda Demitriou, by and through

their attorneys, Hupy and Abraham, S.C., by Thomas A. Perlberg, hereby bring this Complaint

against the Defendants, Donnelly Transportation, Incorporated, Josue           R.   Hidalgo-Clarke,

Firebird Trucking, Incorporated, ACE Property and Casualty Insurance Company, and State

National Insurance Company, Incorporated, and state to the Court as follows:

                                JURISDICTION AND VENUE

       1.      That this Court has jurisdiction over all other claims made within this cause of

action pursuant diversity jurisdiction under 28 U.S.C. $ 1332 because the Plaintiffs do not reside

in the same state as Defendants and the amount in controversy exceeds $75,000.00.




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        2.       That venue is present in this District pursuant to 28 U.S.C. $ 1391(b)(2) because

the events giving rise to the claim occurred in this judicial district.

                                               PARTIES

        3.       That the Plaintiff, Dustin J. Demitriou, is an adult resident of the Village of Big

Falls, County of Waupaca, Wisconsin, currently residing aI 319 Main Street , Zip Code 54926.

        4.       That the Plaintiff, Ronda Demitriou, is an adult resident of the Village of Big

Falls, County of Waupaca, Wisconsin, currently residing at 319 Main Street, Zip Code 54926;

and that the Plaintiff, Ronda Demitriou, is the spouse of Dustin J. Demitriou.

        5.       That the Defendant, Donnelly Transportation, Incorporated,             is a foreign
corporation   , organized and existing under the laws of Illinois, with its principal place of business

located at 7545 South Madison Street, Burr Ridge, Illinois,         Zip Code 60527; and that legal

process for the Defendant, Donnelly Transportation, Incorporated, shall be served upon Brian M.

Donnelly,located at609 West 56th Street, Hinsdale, Illinois, ZipCode6052l.

        6.       That the Defendant, Jose R. Hidalgo-Clarke, upon information and belief is an

adult resident of the City of Chicago, County of Cook, Illinois, currently residing at 5051 South

Winchester Avenue, Rear 2 Floor 2, Zip Code 60609; and that the Defendant, Jose R. Hidalgo-

Clarke, was employed        by   and/or an agent     of the Defendants, Donnelly Transportation,
Incorporated, and/or Firebird Trucking, Incorporated, at all times material hereto.

        7.       That the Defendant, Firebird Trucking, Incorporated, is a foreign corporation,

organized and existing under the laws of lllinois, with its principal place of business located at

3047 South Lyman Street, Chicago, Illinois, Zip Code 60608; and that legal process for the

Defendant, Firebird Trucking, Incorporated, shall be served upon Jose Noe Rincon, located at

7263 South Harlem Avenue, Bridgeview, Illinois, Zip Code 60455.

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        8.     That the Defendant, ACE Property and Casualty Insurance Company, is a foreign

insurance company, organized and existing under the laws of Pennsylvania, with its principal

place of business located at 436 Walnut Street, Philadelphia, Pennsylvania, Zip Code 19106; that

the registered agent in Wisconsin for the Defendant, ACE Property and Casualty Insurance

Company, is CT Corporation System, located at 301 South Bedford Street, Suite One, Madison,

Wisconsin,   Zip Code 53703; that the Defendant, ACE Property and                 Casualty Insurance

Company, is engaged in the business of writing and selling insurance, and that prior to the date

of the accident herein, January 24, 2020, it issued its policy of insurance to the Defendant,

Donnelly Transportation, Incorporated, insuring the Defendant, Donnelly Transportation,

Incorporated, its employees, agents, servants, representatives, and/or volunteers against liability

of the type hereafter alleged; that this policy of insurance was issued and delivered in the State       of

Illinois; and that this policy of insurance was in full force and effect at all times material hereto.

        9.     That the Defendant, State National Insurance Company, Incorporated, is a foreign

insurance company, organized and existing under the laws of Texas, with its principal place          of

business located   at 1900 L. Don Dodson Drive, Bedford, Texas, Zip Code 76021; that                the

registered agent    in Wisconsin for the Defendant, State National              Insurance Company,

Incorporated, is National Registered Agents Incorporated, located at 301 South Bedford Street,

Suite One, Madison, Wisconsin, Zip Code 53703; that the Defendant, State National Insurance

Company, Incorporated, is engaged in the business of writing and selling insurance, and that

prior to the date of the accident herein, January 24, 2020, it issued its policy of insurance to the

Defendant, Firebird Trucking, Incorporated, insuring            the Defendant, Firebird      Trucking,

Incorporated, its employees, agents, servants, representatives, and/or volunteers against liability



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of the type hereafter alleged; that this policy of insurance was issued and delivered in the State of

Illinois; and that this policy of insurance was in full force and effect at all times material hereto.

                                    STATEMENT OF FACTS

        10.       That on or about January 24, 2020, Firebird Trucking, Incorporated, was the

owner   of a     1998 Freightliner tractor,   VIN   #1FUYSSEB6WP980281, Illinois license plate

number 01242020, pulling a separately owned semi-trailer with a VIN #1TA14452382206299,

Tennessee license plate number U878756.

        1   l.    That on said date, the Defendant, Josue R. Hidalgo-Clarke, was a permissive user

and operator      of   said tractor, operating under the Defendant, Donnelly Transportation,

Incorporated, Motor Carrier ("MC") Number 276172, and Department                    of   Transportation

("DOT") Number 564331.

        12.      That on said date, Defendant, Josue R. Hidalgo-Clarke, was a permissive user and

operator    of said tractor, operating under the Defendant, Firebird Trucking, Incorporated, MC

Number 037857, and DOT Number 1463224.

        13.      That on said date, the Defendant, Josue R. Hidalgo-Clarke, was working as               a


professional truck driver within the course and scope of his duties as a permissive user for the

Defendant, Donnelly Transportation, Incorporated; that on said date, the Defendant, Josue R.

Hidalgo-Clarke, was working as a professional truck driver within the course and scope of his

duties as a permissive user for the Defendant, Firebird Trucking, Incorporated; that, upon

information and belief the Defendant, Firebird Trucking, Incorporated, owned the tractor

involved in this collision, and employed the Defendant, Josue R. Hidalgo-Clarke; and that on

said date, the Defendants, Josue R. Hidalgo-Clarke and Firebird Trucking, Incorporated, were



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operating under the motor carrier number                  of the Defendant,    Donnelly Transportation,

Incorporated, MC number 276172.

          14.        That on or about January 24, 2020, the Plaintiff, Dustin J. Demitriou, was        a


passenger      in   a motor vehicle traveling southbound on United States Highway 45 at or near the

intersection with Everts Lane in the Town of Caledonia, County of Waupaca, Wisconsin; and at

that same time and place, the Defendant, Josue R. Hidalgo-Clarke, was the operator of a semi-

tractor and trailer traveling northbound on United States Highway 45 when he negligently

operated his semi-tractor and trailer and collided with the motor vehicle in which the Plaintiff,

Dustin J. Demitriou, was a passenger, thereby causing the Plaintiffs injuries and damage              as


hereafter described.

                                          COUNT I:
                                        NEGLIGENCE
                      DUSTIN J. DEMITRIOU v. JOSUE R. HIDALGO-CLARKE

          15.        Plaintiffs hereby incorporate by referenceParagraphs 1-14 of this Complaint as if

fully   set forth herein.

          16.        That at all times pursuant hereto,    it   was the duty of the Defendant, Josue R.

Hidalgo-Clarke, to operate the semi-tractor and trailer he was driving with ordinary care for the

safety of others then and there upon said roadway, including to the Plaintiff, Dustin J. Demitriou.

          17.        That in violation of this above-mentioned duty, the Defendant, Josue R. Hidalgo-

Clarke, negligently did andlor failed to do one or more of the following acts:

          a.         Operated his tractor and trailer at a speed greater than was reasonable and prudent
                     so as to avoid colliding with the motor vehicle in which the Plaintifi Dustin    J.
                     Demitriou, was a passenger;

          b.         Failed to stay within his own lane to avoid colliding with the motor vehicle in
                     which the Plaintiff, Dustin J. Demitriou, was a passenger;


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       c.      Failed to keep the proper lookout for vehicles such as the motor vehicle in which
               the Plaintiff, Dustin J. Demitriou, was a passenger while driving his tractor-trailer
               on said roadway;

       d.      Failed to decrease the speed of his tractor and trailer as necessary to avoid
               colliding with the motor vehicle in which the Plaintiff, Dustin J. Demitriou, was a
               passenger;

        e.     Failed to recognize the potential hazards when entering oncoming traffic to avoid
               colliding with the motor vehicle in which the Plaintiff Dustin J. Demitriou, was a
               passenger; and/or

        f.     Was otherwise careless andlor negligent.

        18.    That the foregoing acts of negligence on the part of the Defendant, Josue R.

Hidalgo-Clarke, were the direct and proximate cause of the injuries and damages sustained by

the Plaintiff, Dustin J. Demitriou.

        19.    That as a result of the foregoing acts of negligence on the part of the Defendant,

Josue R. Hidalgo-Clarke, the Plaintiff, Dustin J. Demitriou, sustained injuries to his body and

suffered emotional distress; that he has suffered pain and may continue to suffer pain for an

indefinite time in the future; that he was required to seek medical attention; that he may be

required to seek additional and continued medical attention in the future and to expend large

sums   of money for said medical attention; and that he was unable to engage in his normal

activities for a period of time, and may continue to be so restricted, all to his damage.

        WHEREFORE, the Plaintiffs, Dustin J. Demitriou and Ronda Demitriou, demand

judgment against the Defendant, Josue R. Hidalgo-Clarke, in an amount in excess of SEVENTY-

FIVE THOUSAND DOLLARS ($75,000.00) and for any and all other relief as the Court may

deem just and proper.




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                               COUNT II:
                      INSTITUTIONAL NEGLIGENCE
  DUSTIN J. DEMITRIOU v. DONNELLY TRANSPORTATION, INCORPORATED &
                  FIREBIRD TRUCKING, INCORPORATED

          20.      Plaintiffs hereby incorporate by reference Paragraphs 1-19 of this Complaint as if

fully   set forth herein.

          21.      That at all times material hereto, and upon information and belief the Defendant,

Josue R. Hidalgo-Clarke, was an employee, agent, servant, representative, and/or volunteer          of

the Defendants, Donnelly Transportation, Incorporated and/or Firebird Trucking, Incorporated;

and that the forgoing acts of negligence on the part of the Defendant, Josue R. Hidalgo Clarke,

were cofilmitted while the Defendant, Josue R. Hidalgo Clarke, was acting in the course and

scope     of his   employment andlor agency with the Defendants, Donnelly Transportation,

Incorporated and/or Firebird Trucking, Incorporated.

          22.      That at all times relevant hereto, and upon information and belief, the Defendants,

Donnelly Transportation, Incorporated and/or Firebird Trucking, Incorporated, did not have

adequate performance standards        in place to ensure that it hired and retained qualified     and

competent truck drivers and that its commercial truck drivers performed their           job duties in

accordance with FMCSA guidelines and regulations.

          23.      That at all times relevant hereto, and upon information and belief, there were

FMCSA guidelines, regulations, and industry standards in effect relating to driver qualification

and retention of truck drivers and training on seeing, managing space, and basic control of the

tractor-trailer; and that the Defendants, Donnelly Transportation, Incorporated andlor Firebird




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Trucking, Incorporated, did not adequately inform the Defendant, Josue R. Hidalgo-Clarke, of

the aforementioned FMSCA guidelines.

       24.     That at all times relevant hereto, and upon information and belief, the Defendants,

Donnelly Transportation, Incorporated and/or Firebird Trucking, Incorporated, owed a duty to

the Plaintiff Dustin J. Demitriou, to teach and train its commercial truck drivers in accordance

with FMCSA guidelines and         procedures; that the Defendants, Donnelly Transportation,

Incorporated and/or Firebird Trucking, Incorporated, owed a duty       to the Plaintiff, Dustin   J.


Demitriou, to teach, train, educate and/or adequately inform its commercial truck drivers in of

the FMCSA's guidelines and procedures to ensure the safety of other motorists traveling on the

roadway; and that on or about January 24,2020, and at all times relevant herein, the Defendants,

Donnelly Transportation, lncorporated and/or Firebird Trucking, Incorporated, individually and

through its permissive users, failed to exercise reasonable care by committing one or more of the

following acts or omissions:

               a.     Failure to implement adequate performance standards to ensure that its
                      commercial truck drivers, including the Defendant, Josue R. Hidalgo-
                      Clarke, performed their job duties in accordance with the FMCSA's
                      guideline and procedures;

               b.     Failure to procedurally review the performance of its commercial truck
                      drivers, including the Defendant, Josue R. Hidalgo-Clarke, to determine
                      whether they were adequately following FMCSA guideline and
                      procedures; and/or

               c.     Failure to adequately inform the Defendant, Josue R. Hidalgo-Clarke, of
                      the FMCSA's guidelines and procedures relating to the left-hand turns,
                      and safely approaching an intersection.

       25.     That the foregoing acts of negligence on the part of the Defendants, Donnelly

Transportation, Incorporated and/or Firebird Trucking, Incorporated, were the direct and

proximate cause of the injuries and damages sustained by the Plaintiff, Dustin J. Demitriou.

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        26.     That as a result of the foregoing acts of negligence on the part of the Defendants,

Donnelly Transportation, Incorporated and/or Firebird Trucking, Incorporated, the Plaintiff,

Dustin J. Demitriou, sustained injuries to his body and suffered emotional distress; that he has

suffered pain and may continue to suffer pain for an indefinite time in the future; that he was

required to seek medical attention; that he may be required to seek additional and continued

medical attention in the future and to expend large sums of money for said medical attention; and

that he was unable to engage in his normal activities for a period of time, and may continue to be

so restricted, all to his damage.

        WHEREFORE, the Plaintiffs, Dustin J. Demitriou and Ronda Demitriou,                demand

judgment against the Defendants, Donnelly Transportation, Incorporated and/or Firebird

Trucking, Incorporated, in an amount in excess of SEVENTY-FIVE THOUSAND DOLLARS

($75,000.00) and for any and all other relief as the Court may deem just and proper.

                              COUNT III:
                         VICARIOUS LIABILITY
 DUSTIN J. DEMETRIOU v. DONNELLY TRANSPORTATION,INCORPORATED &
                 FIREBIRD TRUCKING, INCORPORATED

        27.     Plaintiffs hereby incorporate by reference Paragraphs 1-26 of this Complaint as if

fully set forth herein.

        28.     That on or before January 24, 2020, the Defendants, Donnelly Transportation,

Incorporated and/or Firebird Trucking, Incorporated, authorized the Defendant, Josue R.

Hidalgo-Clarke,    to operate a cofirmercial tractor and hailer; that the    Defendant, Josue R.

Hidalgo-Clarke, was operating under the authority of the Defendants, Donnelly Transportation,

Incorporated and/or Firebird Trucking, Incorporated; and that, upon information and belief, on

and before January 24, 2020, the Defendant, Firebird Trucking, Incorporated, had contracted


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andlor entrusted the work    of operating its semi-tractor to the Defendants,   Josue R. Hidalgo-

Clarke andlor Donnelly Transportation, Incorporated, in delivering its goods to customers in

furtherance   of the business of the Defendants, Donnelly Transportation, Incorporated     and/or

Firebird Trucking, Incorporated.

         29.    That at the aforesaid time and place, the Defendant, Firebird Trucking,

Incorporated, directly affected commercial motor vehicle safety due to the work being performed

by the Defendants, Josue R. Hidalgo-Clarke and/or Donnelly Transportation, lncorporated.

         30.    That, upon information and belief, on and before January 24, 2020, the

Defendant, Firebird Trucking, Incorporated, had a standing agreement with the Defendants,

Josue   R. Hidalgo-Clarke and/or Donnelly Transportation, Incorporated, to transport its loads at

the Defendant, Firebird Trucking, Incorporated's, direction; that the Defendant, Firebird

Trucking, Incorporated, had the right to control the Defendants, Josue R. Hidalgo-Clarke andlor

Donnelly Transportation, Incorporated, in transporting its loads; that the Defendant, Firebird

Trucking, Incorporated, had the right to direct the Defendants, Josue R. Hidalgo-Clarke andlor

Donnelly Transportation, Incorporated, on the timing       of the delivery of their loads; that
Defendant, Firebird Trucking, Incorporated, had the right to determine the delivery schedule and

route for the Defendants, Josue R. Hidalgo-Clarke and/or Donnelly Transportation, Incorporated;

that the Defendant, Firebird Trucking, Incorporated, had the right to determine what equipment

needed to be used by the Defendants, Josue R. Hidalgo-Clarke andlor Donnelly Transportation,

Incorporated; that the Defendants, Josue R. Hidalgo-Clarke and/or Donnelly Transportation,

Incorporated, had to report to the Defendant, Firebird Trucking, Incorporated, the progress and

any issues of the delivery of the loads; that the Defendant, Firebird Trucking, Incorporated, held

out the Defendants, Josue R. Hidalgo-Clarke and Donnelly Transportation, Incorporated,         as


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employees, servants, agents, representatives, and/or volunteers, such that a reasonable person

would conclude that the Defendants, Josue R. Hidalgo-Clarke and Donnelly Transportation,

Incorporated, were the employees, servants, agents, representatives, and/or volunteers         of   the

Defendant, Firebird Trucking, Incorporated; and that the Defendant, Firebird Trucking,

Incorporated, exercised supervisory control over the work being performed by the Defendants,

Josue R. Hidalgo-Clarke and Donnelly Transportation, Incorporated.

       31.      That on and before January 24,2020, the Defendant, Firebird Trucking,

Incorporated, was a motor carrier providing transportation that uses tractors and trailers not

owned by     it to transport property under an flrangement with     another party and therefore, the

Defendants, Josue       R. Hidalgo-Clarke andlor Donnelly Transportation, Incorporated, were

statutory employees      of the Defendant, Firebird Trucking, Incorporated; that the Defendant,

Firebird Trucking, Incorporated, was a statutory employer that assumed possession, control, and

use of the equipment, including the tractor and trailer involved in the January 24,2020, accident;

and that as     a    statutory employer,   it was the duty of the Defendant, Firebird Trucking,
Incorporated,   to exercise reasonable care for its statutory employees, herein the       Defendants,

Josue R. Hidalgo-Clarke and Donnelly Transportation, Incorporated.

       32.      That on or before January 24, 2020, the Defendant, Firebird Trucking,

Incorporated, violated its duty and committed one or more of the following negligent acts and/or

omlsslons:

                a.        Failed to supervise its commercial drivers     to   ensure that they remain
                          within the authorized hours of service;

                b.        Failed to ensure that the trailer and cargo assigned to the Defendant, Josue
                          R. Hidalgo-Clarke, was safe for transportation;




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                 c.     Failed to ensure that the Defendant, Josue R. Hidalgo-Clarke, was
                        properly trained on driving, seeing, and lane change techniques while
                        operating a tractor and trailer;

                 d.     Failed to supervise the Defendant, Josue R. Hidalgo-Clarke's, training,
                        seeing, and lane change techniques while operating a tractor and trailer;
                        andlor

                 e.     Failed to supervise the Defendants, Josue R. Hidalgo-Clarke and Donnelly
                        Transportation, Incorporated,    on driving and safe maneuvers on          a
                        highway.

        33.      As a direct and proximate result of the statutory employee, the Defendants', Josue

R. Hidalgo-Clarke and/or Donnelly Transportation, Incorporated, negligence or reckless conduct

for which the           Defendant, Firebird Trucking, Incorporated,             is liable under
master/servarfilagencylstatutory employer/joint-borrowed employee doctrines, the vehicle in

which the Plaintiff, Dustin J. Demitriou, was a passenger did then and there collide with the

tractor and trailer.

        34.      That as a result of the foregoing acts of negligence on the part of the Defendants,

Donnelly Transportation, Incorporated andlor Firebird Trucking, Incorporated, the Plaintiff,

Dustin J. Demitriou, sustained injuries to his body and suffered emotional distress; that he has

suffered pain and may continue to suffer pain for an indefinite time in the future; that he was

required to seek medical attention; that he may be required to seek additional and continued

medical attention in the future and to expend large sums of money for said medical attention; and

that he was unable to engage in his normal activities for a period of time, and may continue to be

so restricted, all to his damage.

        WHEREFORE, the Plaintiffs, Dustin J. Demitriou and Ronda Demitriou,                demands

judgment against the Defendants, Donnelly Transportation, Incorporated, and Firebird Trucking,



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Incorporated,      in an amount in      excess   of    SEVENTY-FIVE THOUSAND DOLLARS

($75,000.00) and for any and all other relief as the Court may deem just and proper.

                   COUNT IV: (IN TIIE ALTERNATIVE)
                         VICARIOUS LIABILITY
 DUSTIN J. DEMETRIOU v. DONNELLY TRANSPORTATION,INCORPORATED                                    &
                 FIREBIRD TRUCKING, INCORPORATED

          35.     Plaintiffs hereby incorporate by reference Paragraphs 1-34 of this Complaint as if

fully   set forth herein.

          36.     That, in the alternative, on or before January 24,2020, the Defendants, Donnelly

Transportation, Incorporated and/or Firebird Trucking, Incorporated, authorized the Defendant,

Josue R. Hidalgo-Clarke, to operate a commercial tractor and trailer; that the Defendant, Josue R.

Hidalgo-Clarke, was operating under the authority of the Defendant, Donnelly Transportation,

Incorporated and/or the Defendant, Firebird Trucking, Incorporated; that, upon information and

belief, on and before January 24, 2020, the Defendant, Donnelly Transportation, Incorporated,

had contracted and/or entrusted the work of operating its semi-tractor to the Defendants, Josue R.

Hidalgo-Clarke and/or Firebird Trucking, Incorporated, in delivering its goods to customers in

furtherance of the business of the Defendant, Donnelly Transportation, Incorporated.

          37.     That, in the alternative, at the aforesaid time and place, the Defendant, Donnelly

Transportation, Incorporated, directly affected commercial motor vehicle safety due to the work

being performed by the Defendants, Josue R. Hidalgo-Clarke and/or Firebird Trucking,

Incorporated.

          38.     That, in the alternative and upon information and belief, on and before January

24,2020, the Defendant, Donnelly Transportation, Incorporated, had a standing agreement with

the Defendants, Josue R. Hidalgo-Clarke and/or Firebird Trucking, Incorporated, to transport its


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loads at the Defendant, Donnelly Transportation, Incorporated's, direction; that the Defendant,

Donnelly Transportation, Incorporated, had the right       to   control the Defendants, Josue R.

Hidalgo-Clarke and/or Firebird Trucking, Incorporated,       in   transporting   its loads; that   the

Defendant, Donnelly Transportation, Incorporated, had the right to direct the Defendants, Josue

R. Hidalgo-Clarke andlor Firebird Trucking, Incorporated, on the timing of the delivery of their

loads; that the Defendant, Donnelly Transportation, Incorporated, had the right to determine the

delivery schedule and route for the Defendants, Josue R. Hidalgo-Clarke and/or Firebird

Trucking, Incorporated; that the Defendant, Donnelly Transportation, Incorporated, had the right

to determine what equipment needed to be used by the Defendants, Josue R. Hidalgo-Clarke

and/or Firebird Trucking, Incorporated; that the Defendants, Josue R. Hidalgo-Clarke and/or

Firebird Trucking, Incorporated, had to report to the Defendant, Donnelly Transportation,

Incorporated, the progress and any issues      of the delivery of the loads; that the Defendant,

Donnelly Transportation, Incorporated, held out the Defendants, Josue R. Hidalgo-Clarke and

Firebird Trucking, Incorporated, as employees, servants, agents, representatives, and/or

volunteers, such that a reasonable person would conclude that the Defendants, Josue R. Hidalgo-

Clarke and Firebird Trucking, Incorporated, were the employees, servants,                    agents,

representatives, and/or volunteers of the Defendant, Donnelly Transportation, Incorporated; and

that the Defendant, Donnelly Transportation, Incorporated, exercised supervisory control over

the work being performed by Defendants, Josue R. Hidalgo-Clarke and Firebird Trucking,

Incorporated.

       39.      That, in the alternative, on and before January 24,2020, the Defendant, Donnelly

Transportation, Incorporated was a motor carrier providing transportation that uses tractors and

trailers not owned by   it to transport   property under an arangement with another party and

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therefore, the Defendants, Josue R. Hidalgo-Clarke and/or Firebird Trucking, Incorporated, were

statutory employees    of the Defendant, Donnelly        Transportation, Incorporated; that the

Defendant, Donnelly Transportation, Incorporated, was       a   statutory employer that assumed

possession, control, and use of the equipment, including the tractor and trailer involved in the

January 24, 2020 accident; and that as a statutory employer,    it was the duty of the Defendant,

Donnelly Transportation, Incorporated, to exercise reasonable care for its statutory employees,

the Defendants, Josue R. Hidalgo-Clarke and Firebird Trucking, Incorporated.

       40.     That, in the alternative, on or before January 24,2020, the Defendant, Donnelly

Transportation, Incorporated, violated its duty and committed one or more        of the following

negligent acts and/or omissions:

               a.     Failed to supervise its commercial drivers     to   ensure that they remain
                      within the authorized hours of service;

               b      Failed to ensure that the trailer and cargo assigned to the Defendant, Josue
                      R. Hidalgo-Clarke, was safe for transportation;

               c.     Failed to ensure that the Defendant, Josue R. Hidalgo-Clarke, was
                      properly trained on driving, seeing, and lane change techniques while
                      operating a tractor and trailer;

               d.     Failed to supervise the Defendant, Josue R. Hidalgo-Clarke's, training,
                      seeing, and lane change techniques while operating a tractor and trailer;
                      and/or

               e.     Failed to supervise the Defendants, Josue R. Hidalgo-Clarke and Firebird
                      Trucking, Incorporated, on driving and safe maneuvers on a highway.

       4t.     As a direct and proximate result of the statutory employee, the Defendants', Josue

R. Hidalgo-Clarke and/or Firebird Trucking, Incorporated, negligence or reckless conduct for

which the Defendant, Donnelly Transportation,                Incorporated,     is liable under
master/servantlagencylstatutory employer/joint-borrowed employee doctrines, the vehicle in


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which the Plaintifl Dustin J. Demitriou, was a passenger did then and there collide with the

tractor and trailer in the Plaintiff s lane of travel.

          42.     That, in the alternative, as a result of the foregoing acts of negligence on the part

of the Defendants, Donnelly             Transportation, Incorporated and/or Firebird Trucking,

Incorporated, the     Plaintiff Dustin J. Demitriou, sustained injuries to his body and suffered

emotional distress; that he has suffered pain and may continue to suffer pain for an indefinite

time in the future; that he was required to seek medical attention; that he may be required to seek

additional and continued medical attention in the future and to expend large sums of money for

said medical attention; and that he was unable to engage in his normal activities for a period      of

time, and may continue to be so restricted, all to his damage.

          WHEREFORE, the Plaintiffs, Dustin J. Demitriou and Ronda Demitriou,                demands

judgment against the Defendants, Donnelly Transportation, Incorporated, and Firebird Trucking,

Incorporated,      in an amount in        excess   of SEVENTY-FIVE THOUSAND                DOLLARS

($75,000.00) and for any and all other relief as the Court may deem just and proper.

                                     COUNT V:
                            AGENCY/RESTATEMENT 414
            DUSTIN J. DEMITRIOU V. FIREBIRD TRUCKING' INCORPORATED

          43.     Plaintiffs hereby incorporate by reference Paragraphs 142 of this Complaint as if

fully   set forth herein.

          44.     That, upon information and belief, the Defendant, Firebird Trucking,

Incorporated, leased to the Defendant, Donnelly Transportation, Incorporated, the semi-tractor

and trailer to haul the load that was involved in this collision; that the Defendant, Firebird

Trucking, Incorporated, exercised control            of the Defendant, Donnelly Transportation,
Incorporated,     by requiring   it to report all accidents to the Defendant Firebird Trucking,
                                                     l6


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Incorporated; that the Defendant, Firebird Trucking, Incorporated, exercised control         of    the

Defendant, Donnelly Transportation, Incorporated, by requiring in its lease that the Defendant

haul and deliver the load involved in this crash safely and on time; that the Defendant, Firebird

Trucking, Incorporated, exercised control         of the Defendant, Donnelly Transportation,
Incorporated, by requiring     it to operate its equipment by safe, careful, and properly   licensed

drivers with care and precaution; that the Defendant, Firebird Trucking, Incorporated, exercise

control of the Defendant, Donnelly Transportation, Incorporated, by prohibiting the use of

equipment for transportation of persons or property for hire without proper authority; that the

Defendant, Firebird Trucking, Incorporated, exercised control        of the Defendant, Donnelly
Transportation, Incorporated,       by   specifically requiring   the equipment inspection        and

maintenance be completed by the Defendant, Firebird Trucking, Incorporated, at one            of   its

service facilities; and that the Defendant, Firebird Trucking, Incorporated, exercised control      of

the Defendant, Donnelly Transportation, lncorporated, to obtain insurance for the            leased

equipment.

       45.        That as a result of this control, the Defendant, Firebird Trucking, Incorporated,

and the Defendants, Josue R. Hidalgo-Clarke and Donnelly Transportation, Incorporated, were         in

a master   -   servant relationshipi and that, upon information and belief, the Defendant, Josue R.

Hidalgo-Clarke, was acting in the course and scope of his as an agency and/or employment with

the Defendant, Donnelly Transportation, Incorporated, when he negligently operated his semi-

tractor and trailer and collided with the vehicle in which Plaintiff, Dustin J. Demitriou, was a

passenger.

        46.       That the Defendant, Firebird Trucking, Incorporated, through its employees,

servants, agents, representatives, and/or volunteers, the Defendants, Josue R. Hidalgo-Clarke and

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Donnelly Transportation, Incorporated, had a duty to operate, manage, maintain and control said

tractor and trailer with ordinary and reasonable care so as not to cause injury to others.

       47.     That notwithstanding said duty, the Defendant, Firebird Trucking, Incorporated,

through its employees, servants, agents, representatives, and/or volunteers, the Defendants, Josue

R. Hidalgo-Clarke and Donnelly Transportation, Incorporated, then and there carelessly           and

negligently did, or failed to do, one or more of the following wrongful acts and/or omissions:

               a.      Failed to manage andlor control the semi-tractor and trailer at all times to
                       avoid a collision;

               b.      Failed to operate the semi-tractor and trailer at a speed that was reasonable
                       and prudent to avoid a collision;

               c.      Failed to decrease speed as necessary to avoid a collision; andlor

               d.      Failed to keep a proper visual search, lookout, and space management to
                       avoid a collision.

       48.     That as a direct and proximate result of one or more of the aforesaid careless and

negligent acts and/or omissions of the Defendant, Firebird Trucking, Incorporated, by and

through its employees, servants, agents, representatives, and/or volunteers, the Defendants, Josue

R. Hidalgo-Clarke and Donnelly Transportation, Incorporated, the Plaintiff, Dustin J. Demitriou,

sustained the above-described physical and personal injuries, together with pecuniary damages.

        49.    That as a proximate result       of such negligence     and the resulting collision,

Defendant Firebird Trucking, Incorporated       is vicariously liable for the Plaintiff, Dustin   J.


Demitriou's, personal injuries and damages.

       WHEREFORE, Plaintiffs, Dustin J. Demitriou and Ronda Demitriou, demand judgment

against Defendant, Firebird Trucking Incorporated, in an amount in excess of SEVENTY-FIVE




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THOUSAND DOLLARS ($75,000.00) and for any and all other relief as the Court may deem

just and proper

                    COUNT VI: (IN TIIE ALTERNATIVE)
                       AGENCY/RESTATEMENT 414
   DUSTIN J. DEMITRIOU V. DONNELLY TRANSPORTATION, INCORPORATED

          50.     Plaintiffs hereby incorporate by referenceParagraphs 1-49 of this Complaint as if

fully   set forth herein.

          51.     That, in the alternative and upon information and beliei the Defendant, Donnelly

Transportation, Incorporated, leased to the Defendant, Firebird Trucking Incorporated, the semi-

tractor and trailer to haul the load that was involved         in this collision; that the Defendant,

Donnelly Transportation, Incorporated, exercised control of the Defendant, Firebird Trucking

Incorporated, by requiring    it to report all   accidents to the Defendant, Donnelly Transportation,

Incorporated; that the Defendant, Donnelly Transportation, Incorporated, exercised control of the

Defendant, Firebird Trucking Incorporated, by requiring in its lease that the Defendant, Firebird

Trucking, Incorporated, haul and deliver the load involved in this crash safely and on time; that

the Defendant, Donnelly Transportation, Incorporated, exercised control of the Defendant,

Firebird Trucking Incorporated, by requiring         it to operate its equipment by safe, careful, and
properly licensed drivers with care and precaution; that the Defendant, Donnelly Transportation,

Incorporated, exercise control of the Defendant, Firebird Trucking Incorporated, by prohibiting

the use of equipment for transportation of persons or property for hire without proper authority;

that the Defendant, Donnelly Transportation, Incorporated, exercised control of the Defendant,

Firebird Trucking Incorporated,        by specifically     requiring the equipment inspection     and

maintenance be completed by the Defendant, Donnelly Transportation, Incorporated, at one of its

service facilities; and that the Defendant, Donnelly Transportation, Incorporated, exercised

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control of the Defendant, Firebird Trucking Incorporated, to obtain insurance for the leased

equipment.

          52.   That in the alternative and as a result of this control, the Defendant, Donnelly

Transportation, Incorporated, and the Defendants, Josue           R. Hidalgo-Clarke and       Firebird

Trucking lncorporated, were in a master-servant relationshipi and that, upon information and

belief the Defendant,    Josue R. Hidalgo-Clarke, was acting in the course and scope of his agency

and/or employment with the Defendant Firebird Trucking Incorporated, when he negligently

operated his semi-hactor and trailer and collided with the vehicle in which Plaintiff, Dustin J.

Demitriou, was a passenger.

          53.   That, in the alternative, the Defendant, Donnelly Transportation, Incorporated,

through its employees, servants, agents, representatives, and/or volunteers, the Defendants, Josue

R. Hidalgo-Clarke and Firebird Trucking Incorporated, had a duty to operate, manage, maintain,

and control said tractor and trailer with ordinary and reasonable care so as not to cause injury to

others.

          54.   That, in the alternative and notwithstanding said duty, the Defendant, Donnelly

Transportation, Incorporated, through its employees, servants, agents, representatives, and/or

volunteers, the Defendants, Josue R. Hidalgo-Clarke and Firebird Trucking Incorporated, then

and there carelessly and negligently did, or failed to do, one or more of the following wrongful

acts and/or omissions:

                a.       Failed to manage and/or control the semi-tractor and trailer at all times to
                         avoid a collision;

                b.       Failed to operate the semi-tractor and trailer at a speed that was reasonable
                         and prudent to avoid a collision;

                c.       Failed to decrease speed as necessary to avoid a collision; and/or

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                d.        Failed to keep a proper visual search, lookout, and space management to
                          avoid a collision.

        55.     That as a direct and proximate result of one or more of the aforesaid careless and

negligent acts and/or omissions of the Defendant, Donnelly Transportation, Incorporated, by and

through its employees, servants, agents, representatives, and/or volunteers, the Defendants, Josue

R. Hidalgo-Clarke and Firebird Trucking Incorporated, the Plaintiff, Dustin J.           Demitriou,

sustained the above-described physical and personal injuries, together with pecuniary damages.

        56.     That as a proximate result of such negligence and the resulting collision, the

Defendant, Donnelly Transportation, Incorporated, is vicariously liable for the Plaintiff, Dustin J.

Demitriou's, personal injuries and damages.

        WHEREFORE, Plaintiffs, Dustin J. Demitriou and Ronda Demitriou, demand judgment

against the Defendant, Donnelly, Transportation, Incorporated,        in an amount in excess of
SEVENTY-FIVE THOUSAND DOLLARS ($75,000.00) and for any and all other relief as the

Court may deem just and proper.

                                            COUNT     VII:
                           JOINT ENTERPRISE
  DUSTIN J. DEMITRIOU v. DONNELLY  TRANSPORTATION,INCORPORATED &
                  FIRE BIRD TRUCKING, INCORPORATED

        57.     Plaintiffs hereby incorporate by reference Paragraphs 1-56 of this Complaint as if

fully set forth herein.

        58.     That, upon information and belief, the Defendants, Firebird Trucking,

Incorporated and Donnelly Transportation, Incorporated, are interrelated businesses engaged in

the commerce of interstate trucking, storage, and hauling of freight; that the Defendants, Firebird

Trucking, Incorporated and Donnelly Transportation, Incorporated, worked together to perform      a



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common purpose of operating a business or engaging            in the business of   interstate trucking,

storage, and hauling     of freight; that the Defendants, Firebird Trucking, Incorporated and
Donnelly Transportation, Incorporated, had a proprietary interest          in the ongoing business
enterprises; that upon information and belief, the Defendants, Firebird Trucking, Incorporated

and Donnelly Transportation, lncorporated, had mutual rights          of control and    shared   in   the

profits; that the Defendants, Firebird Trucking, Incorporated and Donnelly Transportation,

Incorporated, shared business assets, business locations, phone number, equipment and

personnel; that the same owners, members and shareholders              of the Defendants,     Firebird

Trucking, Incorporated and Donnelly Transportation, Incorporated, made all decisions for both

companies; that the Defendants, Firebird Trucking, Incorporated and Donnelly Transportation,

Incorporated, operated to the mutual financial benefit of each other with joint ownership and

control.

           59.   That based on the Defendants, Firebird Trucking, Incorporated and Donnelly

Transportation, Incorporated's,   joint   enterprise, they owed duties   of   reasonable care    in the
operation of their business of interstate trucking and hauling freight; and that at all times relevant

hereto, the Defendants, Firebird Trucking, Incorporated and Donnelly Transportation,

Incorporated, breached their duty to use reasonable care to hire, retain, entrust, train, supervise,

and/or monitor the Defendant, Josue R. Hidalgo-Clarke, to ensure he was competent and/or fit to

perform the duties required as a professional truck driver.

       60.       That as a proximate result of the actions of the Defendants', Firebird Trucking,

Incorporated and Donnelly Transportation, Incorporated, negligent acts             in their business
operations and joint enterprise together, by and through their employee agent, andlor contractor,




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the Defendant, Josue R. Hidalgo-Clarke, the Plaintiff, Dustin J. Demitriou, sustained the above-

described physical and personal injuries, together with pecuniary damages.

        WHEREFORE, the Plaintiffs, Dustin J. Demitriou and Ronda Demitriou,                 demand

judgment against the Defendants, Donnelly Transportation, Incorporated and Firebird Trucking,

Incorporated,    in an amount in      excess   of SEVENTY-FIVE THOUSAND DOLLARS
($75,000.00) and for any and all other relief as the Court may deem just and proper.

                                  COUNT VIII:
                             LOSS OF CONSORTIUM
                  RONDA DEMITRIOU v. JOSUE R. HIDALGO-CLARKE

        61.     Plaintiffs hereby incorporate by reference Paragraphs 1-60 of this Complaint as if

fully set forth herein.

        62.     That the Plaintiff, Ronda Demitriou, is the wife      of the Plaintiff, Dustin J.
Demitriou.

        63.     That by reason of the aforementioned acts of negligence on the part of the

Defendant, Josue R. Hidalgo-Clarke, the Plaintiff Ronda Demitriou, has lost the care, comfort,

society and consortium of her husband, Dustin J. Demitriou, by reason of his inability to perform

all of the normal and usual duties, acts and responsibilities   as husband   of the Plaintiff, Ronda

Demitriou, by reason of his injuries suffered as alleged above, and as a result of the negligence

previously described.

        64.     That Dustin J. Demitriou and Ronda Demitriou share all debts and financial

responsibilities as husband and wife; and that Dustin J. Dernitriou and Ronda Demitriou have

incurred debt and financial responsibilities as a result of the negligence of the Defendant, Josue

R. Hidalgo-Clarke, to the financial damage of the Plaintiff Ronda Demitriou.




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          WHEREFORE, the Plaintiffs, Dustin J. Demitriou and Ronda Demitriou, demand

judgment against the Defendant, Josue R. Hidalgo-Clarke, in an amount in excess of SEVENTY-

FIVE THOUSAND DOLLARS ($75,000.00) and for any and all other relief as the Court may

deem just and proper.

                                 COUNT IX:
                            LOSS OF CONSORTIUM
        RONDA DEMITRIOU v. DONNELLY TRANSPORTATION, INCORPORATED

          65.     Plaintiffs hereby incorporate by reference Paragraphs 1-64 of this Complaint as if

fully   set forth herein.

          66.     That the Plaintiff, Ronda Demitriou,    is the wife of the Plaintiff      Dustin    J.

Demitriou.

          67.     That by reason of the aforementioned acts of negligence on the part of the

Defendant, Donnelly Transportation, Incorporated, the Plaintifi Ronda Demitriou, has lost the

care, comfort, society and consortium of her husband, Dustin J. Demitriou, by reason of his

inability to perform all of the normal and usual duties, acts and responsibilities   as husband   of the

Plaintiff, Ronda Demitriou, by reason of his injuries suffered as alleged above, and as a result of

the negligence previously described.

          68.     That Dustin J. Demitriou and Ronda Demitriou share all debts and financial

responsibilities as husband and wife; and that Dustin J. Demitriou and Ronda Demitriou have

incurred debt and financial responsibilities as a result     of the   negligence   of the Defendant,
Donnelly Transportation, Incorporated,       to the financial damage of the Plaintiff,        Ronda

Demitriou.

         WHERBFORE, the Plaintiffs, Dustin J. Demitriou and Ronda Demitriou,                 demand

judgment against the Defendant, Donnelly Transportation, Incorporated, in an amount in excess

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of SEVENTY-FIVE THOUSAND DOLLARS ($75,000.00) and for any and all other relief                      as


the Court may deem just and proper.

                                             COUNT X:
                            LOSS OF CONSORTIUM
             RONDA DEMITRIOU v. FIREBIRD TRUCKING, INCORPORATED

          69.     Plaintiffs hereby incorporate by reference Paragraphs 1-68 of this Complaint as if

fully   set forth herein.

          70.     That the Plaintifi Ronda Demitriou, is the wife of the Plaintiff Dustin           J.


Demitriou.

          71.     That by reason of the aforementioned acts of negligence on the part of the

Defendant, Firebird Trucking, Incorporated, the Plaintiff, Ronda Demitriou, has lost the care,

comfort, society and consortium of her husband, Dustin J. Demitriou, by reason of his inability

to perform all of the normal and usual duties, acts and responsibilities as husband of the   Plaintifi

Ronda Demitriou, by reason of his injuries suffered as alleged above, and as a result of the

negligence previously described.

          72.     That Dustin J. Demitriou and Ronda Demitriou share all debts and financial

responsibilities as husband and wife; and that Dustin J. Demitriou and Ronda Demitriou have

incurred debt and financial responsibilities as a result     of the negligence of the Defendant,
Firebird Trucking, Incorporated, to the financial damage of the Plaintiff; Ronda Demitriou.

          WHEREFORE, the Plaintiffs, Dustin J. Demitriou and Ronda Demitriou,                demand

judgment against the Defendant, Firebird Trucking, Incorporated,       in an amount in   excess    of

SEVENTY-FIVE THOUSAND DOLLARS ($75,000.00) and for any and all other relief as the

Court may deem just and proper.




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                                      JUI(Y I"'Il,IvlANT,l

       PLEASE TAKE NOTICE that the Plaintiffs hereby request              a   trial by a jury of twelve


Respectfully submitted this l6th day of August 2021

                                                             /s Thomas A. Perlbere
                                                             Thomas A. Perlberg
                                                             State Bar Number: 1039910
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